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 9                            UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEVADA
10
     In re:                                           )   Case No.: 22-13252-mkn
11
                                                      )
12   BASIC WATER COMPANY,                             )   Chapter 11
                                                      )
13                          Debtor.                   )   Hearing Date: N/A
                                                      )   Hearing Time: N/A
14

15
         OMNIBUS DECLARATION OF STEPHANNE ZIMMERMAN IN SUPPORT OF
16        DEBTORS’ PETITIONS, FIRST DAY MOTIONS, AND RELATED RELIEF

17            I, STEPHANNE ZIMMERMAN, hereby declare as follows:
18            1.    I am over the age of 18 and mentally competent.

19            2.    I am the President and Chief Financial Officer of Basic Water Company, a Nevada

20   corporation (“BWC”), which is the sole member and manager of Basic Water Company SPE 1,

21   LLC (“SPE” and, together with BWC, “Basic Water” or the “Debtors”). In that capacity, I am

22   familiar with the Debtors’ daily business, operational, and financial affairs. Except as otherwise

23   indicated, all facts set forth in this Declaration are based upon my personal knowledge of the

24   Debtors’ operations and finances, information learned from my review of relevant documents, and

25   information supplied to me by other members of the Debtors’ management and the Debtors’

26   business and legal advisors. If called upon to testify as to the content of this Declaration, I could

27   and would do so.

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 1           3.      I make this declaration in support of the Debtors’ voluntary Chapter1 11 petitions
 2   (the “Petitions”) and the following motions (collectively, the “First Day Motions”).
 3                   a. Emergency Motion for Order Directing Joint Administration of the Debtors’
 4                       Chapter 11 Cases Under Fed. R. Bankr. P. 1015(b) (the “Joint Administration
 5                       Motion”);
 6                   b. Debtors’ Emergency Motion Pursuant to 11 U.S.C. §§ 105(a) and 366 for Entry
 7                       of an Order (I) Prohibiting Utilities from Altering, Refusing or Discontinuing
 8                       Services on Account of Pre-Petition Claims and (II) Establishing Procedures for
 9                       Determining Requests for Additional Adequate Assurance (the “Utilities
10                       Motion”); and
11                   c. Debtors’ Emergency Motion for Entry of an Order Authorizing Maintenance of
12                       Existing Bank Accounts and Cash Management System and Related Relief (the
13                       “Bank Accounts Motion”).
14           4.      I also submit this declaration in support of the following:
15                   a. Debtors’ Application for Entry of an Order Under 11 U.S.C. §§ 327(a), 328, 329
16                       and 331 and Fed. R. Bankr. P. 2014 and 2016 Authorizing the Employment and
17                       Retention of Schwartz Law, PLLC as Attorneys for the Debtors-in-Possession
18                       (the “Schwartz Law Application”);
19                   b. Debtors’ Application for Entry of an Order Under 11 U.S.C. §§ 327(a), 328, 329
20                       and 331 and Fed. R. Bankr. P. 2014 and 2016 Authorizing the Employment and
21                       Retention of Force Ten Partners, LLC as Financial Advisors for the Debtors-in-
22                       Possession (the “Force Ten Application”); and
23

24

25
     1
26          Unless otherwise indicated, all chapter and section references are to the Title 11 of the United States
     Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”). All references to a “Chapter” or
27   “Section” shall be to the Bankruptcy Code. “Bankruptcy Rule” references are to the Federal Rules of
     Bankruptcy Procedure, Rules 1001-9037. “Local Rule” or “LR” references are to the Local Rules of
28   Bankruptcy Practice of the United States Bankruptcy Court for the District of Nevada.

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 1                  c. Motion for Administrative Order Establishing Procedures for Interim Monthly
 2                      Compensation and Reimbursement of Expenses of Professionals (“Interim
 3                      Compensation Motion”).
 4          5.      The Debtors filed their voluntary petitions for relief under Chapter 11 of the
 5   Bankruptcy Code on September 10, 2022 (the “Petition Date”), thereby commencing Case No.22-
 6   13252 and Case No. 22-13253 (together, the “Chapter 11 Cases”).
 7          6.      The Debtors continue to operate as a debtors-in-possession pursuant to Sections
 8   1107(a) and 1108 of the Bankruptcy Code.
 9          7.      To date, the Office of the United States Trustee for Region 17 (the “UST”), which
10   includes the District of Nevada, has not appointed a committee of unsecured creditors in either of
11   the Debtors’ Chapter 11 Cases.
12          8.      No case trustee or examiner has been appointed by the UST, and the Court has not
13   entered an order directing the appointment of an estate officer, in these Chapter 11 Cases. See, id.
14                                           BACKGROUND
15   A.      History of the Debtors’ Business
16   Initial Construction of the Basic Complex, Appropriation of Water, and the Industry Water
     Delivery Contracts (1941 – 1969)
17
            9.      Basic Water is a water delivery company with a history dating back to 1941. Then,
18
     Anaconda Copper Company built Basic Magnesium, Inc. for the Federal Government to produce
19
     magnesium. Often described as the “miracle metal,” magnesium was needed in large supply to
20
     build airplane bodies and other materials critical to the Allied effort in World War II. These
21
     magnesium production facilities, which were officially titled codename Plancor 201H,
22
     encompassed a complex approximately two miles in length that included a chlorine plant, ore
23
     preparation plant, chlorination plant, metals recovery plant, and electrolysis plant, as well as the
24
     support facilities for each (collectively, the “Basic Complex”). Until 1942, the town created to
25
     house Basic Complex workers was unofficially known as the “Basic Townsite.” That year, the town
26
     was given the official namesake “Henderson” in honor of famed Nevadan and former U.S. Senator
27
     Charles Belknap Henderson.
28

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 1          10.     To bring power and water from Lake Mead over the River Mountains and some 17
 2   miles to the Basic Complex, the Defense Plant Corporation, an entity chartered by Congress in
 3   anticipation of war hostilities and assigned the task of expanding production capabilities for
 4   military equipment, constructed transmission lines from Hoover Dam and certain facilities to
 5   provide water and power supplies from Lake Mead (the “Water Facilities”). The Water Facilities
 6   included, among other things, an intake structure, pumping station, and electrical control house at
 7   Lake Mead; booster pumping stations and reservoirs; a pipeline of 40 inches diameter from Lake
 8   Mead to the Basic Complex traversing a distance of about 16.6 miles; additional pipelines from the
 9   terminal reservoir to points of use; a transmission line to provide power for pumping, transformer
10   stations, a telecommunications line, and appurtenant facilities.
11          11.     On January 28, 1942, Defense Plant Corporation applied to the State of Nevada for
12   a permit to appropriate 45 cubic feet per second (c.f.s.) of water from Lake Mead (equivalent to
13   32,587 acre feet per year (hereinafter, “afy”) of water at a continuous flow), for milling and
14   metallurgical purposes, to be conducted to the Basic Complex through the Water Facilities. The
15   permit was approved and, on June 21, 1948, after construction of the Water Facilities, the State
16   issued Certificate of Appropriation of Water No. 3118 (“Certificate No. 3118”) to Defense Plant
17   Corporation with a priority date of January 28, 1942.
18          12.     On March 28, 1942, Defense Plant Corporation applied to the State of Nevada for a
19   permit to appropriate 12 c.f.s. of water from Lake Mead (equivalent to 8,690 afy of water at a
20   continuous flow), for municipal purposes, to be conducted to the Basic Complex through the Water
21   Facilities. The permit was approved and, on June 21, 1948, after construction of the Water
22   Facilities, the State issued Certificate of Appropriation of Water No. 3119 (“Certificate No. 3119”)
23   to Defense Plant Corporation, with a priority date of March 28, 1942.
24          13.     By 1944, the Allies’ need for magnesium had dwindled and the Basic Complex was
25   shut down. In 1947, the War Asset Administration offered Henderson—the whole town—for sale
26   as war surplus property. However, to save the town, the Nevada Legislature unanimously approved
27   a bill giving the Colorado River Commission of Nevada (the “Commission”) authority to purchase
28

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 1   the Basic Complex for $24 million with $1 as a down payment and the balance to be paid from
 2   leasing the facilities to private industries.
 3           14.     On June 3, 1949, the United States, acting through War Assets Administration, sold
 4   and conveyed the Basic Complex to the Commission, subject to certain leases und sales of
 5   properties in the townsite of Henderson and certain leases with options to purchase portions of the
 6   Basic Complex between the United States and four manufacturers that operated production
 7   facilities within the Basic Complex (together with their successors-in-interest and assigns, the
 8   “Industries”). The Industries are currently comprised of the following companies: EMD
 9   Acquisition LLC, a Nevada limited liability company, d/b/a Borman Specialty Materials
10   (successor-in-interest to American Potash & Chemical Corporation) (“Borman”);2 Lhoist North
11   America of Arizona Inc., an Arizona corporation (successor-in-interest to The Flintkote Company)
12   (“Lhoist”); 3 Titanium Metals Corporation, owned by Precision Castparts Corp., a Delaware
13   corporation (successor-in-interest to Titanium Metals Corporation of America) (“Timet”); and
14   Pioneer Americas LLC, a Delaware limited liability company, d/b/a Olin Chlor Alkali Products
15   (successor-in-interest to Stauffer Chemical Company) (“Olin”).
16           15.     In May of 1942, the Commission sold separate portions of the Basic Complex to the
17   Industries, with each acquiring the land upon which its particular manufacturing facility was
18   located. To own and manage the assets that would be used in common by the Industries, including
19   power distribution facilities, railroad facilities, evaporation ponds, several thousand acres of land,
20   and the Water Facilities, the Industries formed Basic Management, Inc. (“BMI”).
21           16.     Pursuant to that certain Agreement of Sale dated May 23, 1952, by and between the
22   State of Nevada, acting by and through the Commission, and BMI, the Commission sold the
23   residual assets to BMI, including, among others, all of the Water Facilities and all of the rights
24
     2
25           Borman is believed to be the ultimate, indirect successor of Western Electro-Chemical Company,
     which was sold in 1954 to American Potash, who continued to operate the site until it was acquired by Kerr-
26   McGee Chemical in 1967. In 2003, Kerr-McGee spun off the chemical division and renamed it Tronox. The
     Electrolytic Products Division of Tronox was purchased by EMD Acquisition LLC on September 1, 2018,
27   and became known as Borman Specialty Materials.
     3
             Lhoist is believed to be the ultimate successor of The Flintkote Company by its acquisition of
28   Chemical Lime Company.

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 1   under Certificates Nos. 3118 and 3119, subject to a prior assignment by the Commission of a partial
 2   interest in Certificate No. 3118 to the extent of 5 million gallons daily (equivalent to 7.74 c.f.s. or
 3   5,603 afy) to Western Electro-Chemical Company, predecessor of American Potash & Chemical
 4   Corporation, dated May 20, 1952.
 5           17.     Between August 26, 1958 and August 1, 1963, BMI assigned partial interests in
 6   Certificate No. 3118 to the other three Industries (collectively with the Commission’s assignment
 7   to Western Electrochemical Company, the “Industry Water Rights”).4 On January 1, 1965, BMI
 8   entered into contracts with each of the Industries to deliver water to them through the Water
 9   Facilities in accordance with the Industry Water Rights.
10           18.     BMI also entered into an agreement with the City of Henderson (the “City” or
11   “Henderson”) dated November 1, 1954, in which BMI agreed to furnish certain water pumped
12   from Lake Mead through BMI’s Water Facilities to the City. BMI also delivered water to the Las
13   Vegas Valley Water District, the National Park Service, and Rose de Lima Hospital Henderson
14   (now St. Rose Dominican Hospital, Rose de Lima Campus). For nearly a quarter century, BMI was
15   the sole provider of water to the cities of Henderson and Las Vegas.
16           19.     However, the Supreme Court of the United States upended the water entitlements
17   and agreements of BMI and the Industries with its opinion in Arizona v. California, 373 U.S. 546,
18   rendered June 3, 1963, and its decree in that case, 376 U.S. 340, issued on March 9, 1964. In its
19   1963 decision, the Supreme Court construed the Boulder Canyon Project Act, approved December
20   21, 1928, 45 Stat. 1057, as requiring that water shall be released from Lake Mead for consumptive
21   use in the Lower Colorado Basin states of Arizona, California, and Nevada only in accordance with
22   contracts between the United States and water users for the storage and delivery of such water.5
23
     4
24           On August 26, 1958, 11.51 c.f.s. (equivalent to 8,407 afy) was assigned to National Lead Company,
     believed to be the predecessor in interest of Titanium Metals Corporation of America. On November 1,
25   1958, .254 c.f.s. (equivalent to 184 afy) was assigned to The Flintkote Company. On August 26, 1958 and
     August 1, 1963, an aggregate of 12.384 c.f.s. (equivalent to 8,964 afy) was assigned to Stauffer Chemical
26   Company.
     5
             Arizona v. California is within the penumbra of compacts, federal laws, court decisions and decrees,
27   contracts, regulations, and guidelines concerning the use and management of the Colorado River among the
     seven basin states and Mexico collectively known as the “Law of the River.” Significant Law of the River
28   documents are available at https://www.usbr.gov/lc/region/pao/lawofrvr.html.

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 1          20.     Congress stepped in to honor the water entitlements and priorities of BMI and the
 2   Industries through an Act approved July 19, 1966, 89 P.L. 510, 80 Stat. 312, amending the Southern
 3   Nevada Project Act, approved October 22, 1965, 89 P.L. 292, 79 Stat. 1068. Section 3 of the
 4   Southern Nevada Project Act authorized the Secretary of the Interior to contract with the State of
 5   Nevada, acting through the Commission or other duly authorized State Agency, for the delivery of
 6   water and repayment of reimbursable construction costs. Through the 1966 amendment, Section 6
 7   of the Southern Nevada Project Act provided that any contract under Section 3 shall provide that
 8   if, within five years from the date of Southern Nevada Project Act, BMI or its assignees applied for
 9   a contract for the storage and delivery of water in accordance with Section 5 of the Boulder Canyon
10   Project Act and the regulations of the Secretary of the Interior issued pursuant to said Act, the rights
11   of the party contracting under Section 3 of the Southern Nevada Project Act would be subordinate
12   to those of BMI or its assignees to the extent of 41,266 afy, or so much thereof as is required for
13   beneficial consumptive use by it, its rights to the storage and delivery of the same having been
14   properly maintained in accordance with the terms of its contract. In other words, the priority of the
15   entitlements of BMI and its assignees arising under Certificate Nos. 3118 and 3119 would be
16   preserved, but the water pumped by BMI and delivered to water uses had to be “delivered” by the
17   United States pursuant to a contract with the Department of the Interior.
18          21.     On September 18, 1969, the United States, through the Secretary of the Interior, the
19   Commission, acting on its own behalf and on behalf of the State of Nevada, BMI, and the Industries
20   entered into Contract No. 14-06-300-2803 for the Delivery of Water to Basic Management, Inc. (as
21   subsequently amended, the “1969 Contract”). A true and correct copy of the 1969 Contract is
22   attached hereto as Exhibit 1.
23          22.     The 1969 Contract provided for the United States to deliver to BMI, or to such
24   successor of BMI as the Industries may designate, water from storage in Lake Mead for redelivery
25   to water users as provided in Article 4 of the 1969 Contract. Specifically, the United States agreed
26   to deliver annually at BMI’s Lake Mead intake structure 41,266 afy of water or so much thereof as
27   may be required for beneficial consumptive use as follows: (1) 32,587 afy for industrial purposes
28   by BMI and the Industries and their successors, tenants, and assignees in lawful possession of the

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 1   Basic Complex, in the service area described in Certificate No. 3118; and (2) 8,690 afy for
 2   municipal purposes in the service area described in Certificate No. 3119.
 3          23.     As a result of Defense Plant Corporation’s prior appropriation under Certificate Nos.
 4   3118 and 3119, the Law of the River, and the 1969 Contract, Basic Group’s water entitlements
 5   acquired fourth priority status among Nevada’s allocation of the Colorado River water, subordinate
 6   only to the present perfected, first priority rights of Fort Mojave Indian Reservation and Lake Mead
 7   National Recreation Area, the second priority rights of Lake Mead National Recreation Area, and
 8   the third priority rights of Boulder City, Nevada.
 9   Assignments of Entitlements After 1969 and Water Delivery Contracts
10          24.     Ultimately, all of BMI’s original entitlements under Certificate Nos. 3118 and 3119
11   were assigned to the Industries, the City, and the Southern Nevada Water Authority.
12          25.     Subsequent to BMI’s assignment of the Industry Water Rights described above,
13   BMI retained rights to 15,878 afy, which BMI was deemed to hold in trust for the Industries
14   pursuant to paragraph 4(c)(ii) of the 1969 Contract.
15          26.     Pursuant to that certain Water Delivery Contract Between City of Henderson and
16   Basic Management, Inc., dated May 22, 1990 (as amended by an Agreement Amending Water
17   Delivery Contract, dated August 1, 1995, an Amendment to Water Delivery Contract, effective as
18   of October 1, 2005, and a First Amendment to the Amendment, effective as of October 31, 2005,
19   the “City Water Delivery Contract”) and with the consent of the Industries as reflected in the
20   “Assignment and Transfer of Entitlement to Delivery of Colorado River Water from Basic
21   Management, Inc., to the City of Henderson, Nevada” dated May 22, 1990, the remaining water
22   entitlements, comprised of 9,429 afy under Certificate No. 3118 and 6,449 afy under Certificate
23   No. 3119, were assigned to the City (the “City Water Rights”). A true and correct copy of the City
24   Water Delivery Contract, as amended, is attached hereto as Exhibit 2.
25          27.     On September 30, 1992, the Industries assigned portions of their entitlements,
26   totaling 14,550 afy, to Victory Valley Land Company L.P., a limited partnership formed by the
27   Industries, which then assigned the entitlement to Southern Nevada Water Authority (“SNWA”)
28   on November 17, 1994, pursuant to a second amendment of the 1969 Contract. In 2006, Kerr-

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 1   McGhee Chemical LLC assigned an additional 400 afy of its entitlement to a third party, which
 2   then assigned its interest to SNWA.
 3          28.      As a result of these transactions, co-equal fourth priority entitlements totaling
 4   39,036 afy are currently held by the Industries (8,206 afy), the City (15,878 afy), and SNWA
 5   (14,950 afy).
 6          29.      Until July 1, 2022, Basic Water continued to deliver water to the Industries in
 7   accordance with the Industry Water Rights pursuant to the following contracts (collectively, the
 8   “Industry Water Delivery Contracts”):
 9                   a. Producing Companies Water Delivery Contract between Basic Water Company
10                      and Kerr-McGee Chemical LLC, dated June 4, 2002 (the “Borman Water
11                      Contract”), attached hereto as Exhibit 3;
12                   b. Producing Companies Water Delivery Contract between Basic Water Company
13                      and Pioneer Americas LLC, dated January 2, 2007 (the “Olin Water
14                      Contract”), attached hereto as Exhibit 4;
15                   c. Producing Companies Water Delivery Contract between Basic Water Company
16                      and Chemical Lime Company of Arizona dated June 19, 2007 (the “Lhoist
17                      Water Contract”), attached hereto as Exhibit 5; and
18                   d. Producing Companies Water Delivery Contract between Basic Water Company
19                      and Titanium Metals Corporation, dated June 3, 2008 (the “Timet Water
20                      Contract”), attached hereto as Exhibit 6.
21          30.      In addition to the assignments described above, the Industries have assigned
22   portions of their water rights amongst themselves. At present, the Industry Water Rights are
23   currently allocated as follows:
24                   Borman (successor to Kerr-McGhee)                     703 afy
25                   Lhoist (successor to Chemical Lime/Chemstar)             84 afy

26                   Olin (Pioneer Americas)                             2,564 afy

27                   Timet (Titanium Metals Corporation)                 4,857 afy

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 1          31.     Basic Water and its predecessors have continuously delivered water to the City and
 2   Industries in accordance with their respective allocations for almost 70 years.
 3          32.     In addition to delivering raw water, Basic Water delivered treated water pursuant to
 4   a separate agreement for water treatment entitled “Water Treatment Contract Between City of
 5   Henderson, Nevada and Basic Management, Inc.,” dated March 2, 1993 (the “City Water
 6   Treatment Contract”). Under the City Water Treatment Contract, for a fee, the City treats a
 7   portion of the Industry Water Rights and then transports that water to BWC for delivery to the
 8   Industries.
 9   B.      Capital Structure and Current Operations
10   Formation of BWC and SPE
11          33.     BMI reorganized its business divisions into separate subsidiaries in the 1990s. Basic
12   Power Company, a Nevada corporation, Basic Remediation Company, LLC, a Nevada limited
13   liability company, Basic Environmental Company, LLC, a Nevada limited liability company, Basic
14   Land Company, a Nevada corporation, and The LandWell Company, L.P., a Delaware limited
15   partnership (“Landwell”), were formed to house the power distribution facilities, real estate
16   management and sales, and remediation operations arising from the historical use of unlined
17   evaporation ponds for the disposal of industrial and municipal effluent prior to 1976.
18          34.     BWC was formed in 1993 to house the Water Facilities and water delivery business.
19   On June 30, 1993, BMI assigned its interest in the 1969 Contract to BWC pursuant to paragraph
20   3(f) of the 1969 Contract. A true and correct copy of the Water System Conveyance, dated February
21   11, 1993, is attached hereto as Exhibit 7. As the assignee of BMI, BWC assumed and continues to
22   have all of the obligations of BMI under the 1969 Contract, including the water delivery obligations
23   pursuant to paragraph 4 of the 1969 Contract for the volumes identified in paragraph 30 above.
24   Further, BMI assigned to BWC its interest in the City Water Delivery Contract and the City Water
25   Treatment Contract.
26          35.     In July of 2004, BWC formed SPE as a special purpose entity for the purpose of
27   obtaining financing. Pursuant to that certain Assignment and Purchase Agreement dated as of
28   August 5, 2004, as amended by the Amendment to Assignment Agreement dated as of September

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 1   22, 2016, and as further amended by the Second Amendment to Assignment and Purchase
 2   Agreement dated of as February 23, 2017 (as amended, the “SPE Assignment Agreement”), BWC
 3   conveyed the Water Facilities and City Water Delivery Contract to SPE, including: (a) machinery,
 4   equipment, fixtures, powerlines, underground pipelines, supervisory control and data acquisition
 5   system, and other tangible personal property used in connection with the Water Facilities; (b) real
 6   property, including booster stations, intake structures, pumping stations, electrical control houses,
 7   electrical substations, maintenance facilities, terminal, reservoirs, buildings, improvements, works,
 8   structures, pipelines or fixtures thereon, subject to certain exclusions; (c) easements, rights of way,
 9   and permits; (d) the City Water Delivery Contract, including the right to payment (the “Contract
10   Revenues”); (e) other intangibles related to the City Water Delivery Contract, including prepaid
11   expenses and insurance, deposits, bonds, contracts, licenses and permits, franchises, goodwill,
12   privileges, technology, processes, and all similar intangible personal property; and (f) books and
13   records relating to the Water Facilities or to their maintenance or efficient operation or to the Water
14   Delivery Contract. A true and correct copy of the SPE Assignment Agreement is attached hereto
15   as Exhibit 8.
16          36.      Under the SPE Assignment Agreement, as clarified by the Amendment to
17   Assignment Agreement dated September 22, 2016, SPE agreed to pay to BWC all revenues from
18   the City Water Delivery Contract not required to be paid or retained under a debt facility, make the
19   use of the Water Facilities available to BWC in order for BWC to fulfill its obligations for water
20   delivery to the Industries in accordance with the terms of 1969 Contract and the Industry Water
21   Delivery Contracts, and operate the Water Facilities for the mutual benefit of BWC and SPE,
22   including maintaining the Water Facilities in good and workable condition and making such repairs,
23   replacements, and improvements as needed to carry on the business. In exchange , BWC agreed to
24   pay and provide for all costs and expenses of operating and maintaining the Facilities. See Ex. 8, at
25   Pages 90-91 of 177.
26

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 1            37.   BWC and its sister companies, with the exception of LandWell, are wholly owned
 2   by BMI. 6 The shareholders of BMI are TRECO, LLC, a Nevada limited liability company
 3   (62.959%), Pioneer Partners 2000, LLC, a Nevada limited liability company (31.976%), and Lhoist
 4   North America of Arizona, Inc., an Arizona corporation (5.065%). TRECO is a wholly owned
 5   subsidiary of Valhi, Inc. A wholly owned subsidiary of Contran Corporation owns approximately
 6   92% of Valhi’s outstanding common stock.
 7            38.   BMI has historically provided a variety of services to BWC and SPE under a typical
 8   shared services arrangement, including management, tax planning, financial and administrative
 9   services. BWC pays BMI for an allocated share of payroll and benefits for employees, based on
10   estimates of time devoted by BMI employees to Basic Water, along with rent, insurance, property
11   taxes, other operating costs, and federal income tax payments made on behalf of BWC. The net
12   expenses allocated to BWC by BMI totaled $2.2 million in 2019, $2.4 million in 2020, and $2.3
13   million in 2021. The current cost of shared services is approximately $150,000 to $175,000 per
14   month.
15   Financing
16            39.   To finance the acquisition from BWC, SPE obtained financing in the original
17   principal amount of $17,600,000, which was subsequently refinanced by a loan in the original
18   principal amount of $11,900,000 (the “2013 Loan”) from Meadows Bank on January 25, 2013.
19            40.   In order to (i) refinance the 2013 Loan, (ii) finance additional improvements (the
20   “Improvements”) to the Water Facilities and associated real property owned by SPE and described
21   in the Deed of Trust as the Property, and (iii) pay issuance expenses related to the Bonds, SPE
22   entered into a transaction evidenced by that certain Indenture of Trust dated February 23, 2017
23   between SPE, as Issuer, and Bank of Nevada, a division of Western Alliance Bank, an Arizona
24   corporation (“Indenture Trustee”), as Trustee, of the Basic Water Company SPE 1, LLC, City of
25   Henderson Water Delivery Contract Revenue Bonds, Taxable Series 2017 (the “Indenture”),
26   pursuant to which SPE issued its $20,500,000 Basic Water Company SPE 1, LLC City of
27
     6
              LandWell is the successor to Victory Valley Land Company, L.P. It is owned 50% by Basic Land,
28   its general partner, and 50% by BMI’s shareholders.

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 1   Henderson Water Delivery Contract Revenue Bonds, Series 2017 (the “Bonds”). A true and correct
 2   copy of the Indenture is attached hereto as Exhibit 9. Western Alliance Business Trust (the
 3   “Bondholder”), an affiliate of Bank of Nevada, remains the Registered Owner of 100% of the
 4   Bonds outstanding.
 5          41.     The Bonds are payable and secured by the “Trust Estate,” which includes, among
 6   other things: (i) the City Water Delivery Contract, (ii) the revenues from the City Water Delivery
 7   Contract (the “Contract Revenues”), (iii) the assets secured by the Deed of Trust, Pledge and
 8   Security Agreement and Fixture Filing with Assignment of Rents, recorded on February 24, 2017,
 9   as Instrument No. 201702240002702 (the “Deed of Trust”), including the Water Facilities; (iv) all
10   accounts or subaccounts created under the Indenture and held by the Indenture Trustee, including
11   all cash maintained therein. A true and correct copy of the Deed of Trust is attached hereto as
12   Exhibit 10.
13          42.     The proceeds of the Bonds were applied as follows: $8,499,500.69 to pay the 2013
14   Loan and the title company’s fees, $858,450.00 deposited into the Costs of Issuance Fund to pay
15   the fees and costs of professionals and other costs of issuance associated with the Bonds, and
16   $11,142,049.31 deposited into the Improvement Fund created pursuant to section 3.02 of the
17   Indenture. As of the Petition Date, the principal amount of the Bonds outstanding under the
18   Indenture is $7,461,373, with interest payable semi-annually on June 1 and December 1 through
19   the maturity date in 2032, at the rate of 5.34%, exclusive of fees, expenses, and other amounts due
20   and payable under the Indenture.
21   C.      Events Leading to Bankruptcy
22          43.     SPE’s intake structure on Saddle Island at Lake Mead is capable of drawing water
23   down to an elevation of approximately 1,043 feet (above sea level) (the “Failure Elevation”),
24   below which the intake is unable to draw in sufficient water to satisfy the Debtors’ water delivery
25   obligations under the Industry Water Delivery Contracts and City Water Delivery Contract.
26          44.     As the drought that began in 2000 continued to deepen, the Debtors began exploring
27   the feasibility of extending the intake structure to ensure their access to raw water if lake levels
28   continued to decline over the long term. In about 2007, the Debtors engaged a national engineering

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 1   firm to study options for extending the intake, and they recommended a design involving a floating
 2   barge with a wet well that would serve the existing intake. However, the Debtors ultimately
 3   determined that there were too many logistical impediments to implementation of the design within
 4   SPE’s parcel on Saddle Island.
 5          45.     In approximately 2014, the Debtors engaged another design firm with extensive
 6   experience in retrofitting steel truss structures like that used by the Federal Government when it
 7   constructed the intake structure. After a conditional assessment of the intake structure, the firm
 8   determined that the most feasible option would be an extension of the intake further into the lake
 9   by 84 feet, which would allow the intake pipes to be lowered to 995 feet. That design was completed
10   in 2016, inclusive of structural, electrical, and mechanical improvement plans. In connection with
11   this design, SPE ordered a new switch gear building and other equipment with long lead-times.
12          46.     In 2018, the Debtors sought bids for the project from three reputable construction
13   firms and retained a local engineering firm with extensive structural experience in Nevada to assist
14   in the bidding process. All three bids proposed changes to the completed design and were
15   significantly more costly than the Debtors had contemplated. However, all three contractors also
16   expressed reservations about the project because modification of the 80-year old structure would
17   cause damage that might lead to a failure of the structure. Accordingly, they recommended that the
18   Debtors pursue other options.
19          47.     In view of the risk of failure of the structure and the cost such a risky endeavor
20   would entail, the Debtors elected not to proceed with the project and began pursuing alternative
21   solutions. In 2019 and 2020, the Debtors engaged with the City of Henderson about a possible sale
22   of the Water Facilities to the City. The City retained an outside firm to perform a condition
23   assessment and appraisals of the real estate and system assets, but ultimately decided against
24   acquiring the system. In early 2021, the Debtors approached SNWA regarding a possible
25   acquisition of the system by SNWA or connecting SPE’s Water Facilities to SNWA’s “third straw”
26   intake (IPS-3), which taps into the lake at 860 feet above sea level. However, the costs to the
27   Debtors associated with these proposals would not be commercially viable based on the rates paid
28   by the Industries and the City under respective water contracts.

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 1           48.     In 2021, the Debtors engaged Kiewit Corporation, a large engineering and
 2   construction firm, to explore alternative intake extension options. The Bureau of Reclamation’s
 3   monthly 24-Month Studies (the “BOR Projections”)7 indicated that the Debtors would have at
 4   least two years after completion of the Kiewit assessment to construct improvements before the
 5   surface level of Lake Mead reached the Failure Elevation. However, even before Kiewit completed
 6   its assessment in October of 2021,8 the BOR Projections had begun to shift dramatically. The
 7   problem compounded when the Bureau of Reclamation changed their projection methodology
 8   related to the use of historical flows, thereby compressing the runway time to complete any
 9   improvements. That, combined with an unusually bad snow year producing less than expected snow
10   run-off into the Colorado River and upstream reservoirs releasing less water downstream in 2022,
11   led to monthly declines in Lake Mead’s projected elevations for the projected in-service date of the
12   Kiewit improvements. In other words, given the accelerating pace of the decline, none of the
13   designs could be constructed before the surface level of Lake Mead reached the Failure Elevation.
14           49.     As late as April of 2022, however, the Debtors expected to have the capability of
15   delivering water until April of 2023, when the BOR Projections indicated the intake would be likely
16   to reach Failure Elevation. Despite the projections, it became clear in May of 2022 that
17   circumstances had become even more dire. While the December 2021 24-Month BOR Projection
18   indicated a probable reservoir elevation of 1,053.32 feet in July of 2022, the May 2022 24-Month
19   BOR Projection indicated a probable elevation of only 1040.42 feet (below the Failure Elevation)
20   in July of 2022.9 Furthermore, the latest 5-year BOR Projections indicated that, because of the pace
21   of the decline, the new intake might be unable to draw water within a few years after its completion.
22   While the 5-year BOR Projection as of May 2022 indicated a 13% probability of the reservoir
23

24   7
              The BOR Projections project future Colorado River system conditions using single-trace hydrologic
25   scenarios simulated with the Colorado River Mid-term Modeling System (CRMMS) in 24-Month Study
     Mode.      Current     and     recent    historical    BOR    Projections   may      be     obtained    at
26   https://www.usbr.gov/lc/region/g4000/riverops/24ms-projections.html.
     8
              The assessment provided the Debtors with multiple options for extending the intake structure to
27   reach approximately 1,000 feet.
     9
              According to the historical figure contained in the August 2022 24-Month BOR Projection, the
28   reservoir elevation did reach 1,040.82 feet in July of 2022.

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 1   reaching 1,000 feet in 2024, that probably had increased to 23% by August 2022.10 Accordingly,
 2   the Debtors determined that it was not in the best interests of the Debtors, their customers, or their
 3   creditors proceed with the project.
 4           50.     In order to ensure their continued access to water while the parties sought a longer-
 5   term solution, the Industries negotiated an emergency interim solution for the continued delivery
 6   of water with the City, set forth in the Agreement for Temporary Potable Water Service, dated June
 7   13, 2022 (the “Interim Agreement”) executed and facilitated by Basic Water, attached hereto as
 8   Exhibit 11. The City and SWNA agreed to supply BWC with potable water to be redelivered to the
 9   Industries on a temporary basis if the Industries paid the fees and charges of SNWA and the City.
10   To facilitate the Interim Agreement, the City and the Las Vegas Valley Water District entered into
11   the Interlocal Agreement for City of Henderson Provision of Temporary Water Service to Basic for
12   Redelivery by Basic to an Area Within the Las Vegas Valley Water District Service Area, dated
13   June 16, 2022, attached hereto as Exhibit 12.
14           51.     The Interim Agreement provides, among other things, for the City to provide
15   temporary potable water service to the Debtors at the point of connection between the City’s public
16   water system and the temporary potable water facilities constructed by the Debtors, for the Debtors
17   to then transport the water to its terminal reservoirs and on to the Industries through the Water
18   Facilities. The City charged the Debtors a deposit of $1,006,506.46, allocated among the Industries
19   based on their 2021 monthly water usage. Furthermore, the Debtors were required to pay SNWA a
20   regional connection charge of $4,515,079.00 and a System Development Charge in the amount of
21   $386,019.00, both allocated among the Industries based on their demand.
22

23
     10
24           The Department of the Interior estimated that Lake Mead’s water level would fall below 1,050 feet
     msl in January – the threshold required to declare a Tier 2 shortage starting in 2023, and announced on
25   August 16, 2022, that Lake Mead will operate in its first-ever Level 2a Shortage Condition in calendar year
     2023. The August 24-Month Study of the Bureau of Reclamation projects Lake Mead’s January 1, 2023,
26   operating determination elevation to be 1,047.61 feet. This is calculated, however, by taking Lake Mead’s
     projected end of calendar year 2022 physical elevation (1,040.78 feet) and adding the 480,000 acre-feet of
27   water being held back in Lake Powell to Lake Mead’s deemed capacity to maintain operational neutrality.
     Thus, the actual surface level elevation of Lake Mead is lower than the Bureau of Reclamation’s projected
28   elevation.

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 1          52.     The surface level of Lake Mead reached the Failure Elevation on or about July 1,
 2   2022, and the intake structure stopped pumping raw water from the lake. The Industries’ water
 3   needs were sustained for fifteen days by raw water stored in SPE’s reservoirs. Once the reservoirs
 4   were exhausted, the Debtors began taking delivery of potable water from the City pursuant to the
 5   Interim Agreement.
 6          53.     While the Industries continue to receive water that is critical to their operations
 7   pursuant to the Interim Agreement, buying potable water from the City is not a long-term solution.
 8   The 1969 Contract provides, among other things, that:
 9                  [BWC] will receive the water delivered to it under this Contract at its
                    intake structure in Lake Mead, and will pump and transport the same to
10                  the present terminal points of the Water Facilities or to such substitute
11                  terminal points as [BWC] and the [Industries] may agree upon.

12                  At such terminal points, [BWC] will redeliver to the [Industries], and
                    such of their successors, tenants, and assignees as are in lawful
13                  possession of the Basic Complex, or portions thereof, so much water
                    received by BMI from the United States as each [Industry] may
14                  reasonably require for beneficial consumptive use . . .
15   Ex. 1, p. 22, §§ 4(b) and 4(c). The Debtors can no longer receive water at the intake structure, pump
16   and transport it to the terminal points, or redeliver it to the Industries for beneficial consumptive
17   use.
18          54.     SPE also cannot deliver water to the City for the City’s beneficial consumptive use
19   pursuant to the City Water Delivery Contract. As a result, the City has stopped taking water under
20   the City Water Delivery Contract, and SPE is not generating revenue under the City Water Delivery
21   Contract to pay the Bonds. Instead, the Debtors and the Industries are paying the City for potable
22   water at a rate that is four to five times higher than the rate for raw water.
23          55.     Further, the Interim Agreement is temporary, and the Debtors agreed to work
24   expeditiously towards development of a permanent solution. The Debtors acknowledged that any
25   provision of permanent water service that requires construction and/or use of City, Las Vegas
26   Valley Water District, and/or SNWA facilities to deliver water to the Debtors and/or the Industries
27   “will require a separate solution and agreement(s) amongst all affected parties” and agreed to “work
28

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 1   expeditiously and in good faith toward identifying a solution for the provision of permanent water
 2   service to the [Industries] … and establishing the Permanent Agreement that addresses the terms
 3   and conditions for such permanent water service.” Ex. 11, pp. 8-9, § 2.13. The Debtors agreed to
 4   work in good faith toward finalizing a solution within three months of the June 13, 2022, Effective
 5   Date of the Interim Agreement, or on or about September 13, 2022. Id. While the Debtors have
 6   continued working toward a permanent solution with the City and SNWA, a viable permanent
 7   solution has not been achieved.
 8                                        FIRST DAY MOTIONS
 9   A.      Joint Administration of the Chapter 11 Cases.
10          56.     In order to administer their Chapter 11 Cases optimally and efficiently, each of the
11   Debtors seeks entry of an order directing procedural consolidation and joint administration of their
12   Chapter 11 Cases pursuant to Sections 101(2) and 105(a) of the Bankruptcy Code, Bankruptcy Rule
13   1015(b), and LR 1015, with BWC’s Chapter 11 Case denominated the lead case.
14          57.     The Debtors are “affiliates” as that term is defined under the Bankruptcy Code.
15   BWC is the parent and sole owner of SPE, holding 100% of the membership interests in that entity.
16          58.     The Debtors believe that these Chapter 11 Cases will be more economical and
17   efficient if they are jointly administered. The Debtors are both ultimately owned by BMI. They file
18   consolidated tax returns with BMI and share a common management team, common accounting
19   staff, and common business location with BMI and other non-debtor affiliates. The employees who
20   provide services to Basic Water are employees of BMI. Many employees’ job duties include work
21   relating to both Debtors and non-debtor affiliates.
22          59.     Debtors are interdependent, both financially and operationally. For example, while
23   SPE owns the Water Facilities and delivered water to the City pursuant to the City Water Delivery
24   Contract, BWC utilizes the Water Facilities to deliver water to the Industries under the Industry
25   Water Delivery Contracts in exchange for maintaining SPE’s Water Facilities and is the party to
26   the 1969 Contract with the Department of Interior as the successor to BMI.
27          60.     Accordingly, the Debtors anticipate that most motions, applications, and hearings
28   will affect both Debtors, and joint administration will promote the economical and efficient

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 1   administration of the cases and reduce the cost of administration of the Chapter 11 Cases, including
 2   the cost of serving notices.
 3           61.     The Debtors are seeking joint administration only for procedural purposes and are
 4   not presently requesting that the Chapter 11 Cases be substantively consolidated. Therefore, joint
 5   administration will not impair any creditors’ right to recover from the assets of a particular Debtor
 6   or otherwise adversely affect any creditor or other party in interest. Rather, joint administration will
 7   relieve the Debtors and the Court of the burden of duplicative filings, simplify case administration,
 8   and benefit creditors by reducing the costs of administration.
 9    B.      Utilities Motion.
10           62.     The Debtors filed their Utilities Motion seeking entry of an order: (i) prohibiting
11   utility service providers, including those listed on Exhibit 1 to the Utilities Motion (the
12   “Utilities”),11 from altering, refusing, or discontinuing services on account of the commencement
13   of these Chapter 11 Cases or any unpaid pre-petition invoices or pre-petition claims; and
14   (ii) establishing procedures for determining requests for adequate assurance of payment.
15           63.     In the normal conduct of their business, the Debtors use water, electric, telephone
16   (including telephone and data services), and other services provided by Utilities. In most cases,
17   BWC is billed by the Utilities for utility services provided to BWC and SPE. In a few cases, the
18   Utilities direct invoices for utility services provided to BWC and SPE to BWC’s non-debtor parent
19   company, BMI, which owned the Water Facilities and other assets prior to 2004.12
20           64.     Uninterrupted utility services are essential to the Debtors’ ongoing operations and,
21   therefore, to the success of their Chapter 11 Cases. Because the Debtors purchase water from the
22   City and deliver it to their customers through a system that requires electricity to transmit the water
23   to reservoirs and then through pipelines from the terminal reservoir to points of use, any interruption
24
     11
25            The listing of an entity on Exhibit 1 of the Utilities Motion is not an admission that any entity is a
     utility within the meaning of 11 U.S.C. § 366. Although the Debtors believe that the list of companies on
26   Exhibit 1 is complete, they reserve the right to supplement such list if the Debtors inadvertently omitted a
     utility provider.
27   12
              The Debtors also pay BMI a portion of certain overhead expenses that are shared with BMI and
     other non-debtor affiliates. Shared utility services that are paid by BMI, rather than by the Debtors, are not
28   included in this Motion.

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 1   of utility services, even for a brief period of time, would disrupt the Debtors’ ability to provide
 2   water and cause the Debtors to lose revenue. Discontinuation of a utility service, particularly
 3   electricity or water, would effectively shut down operations. It is therefore critical that utility
 4   services continue uninterrupted during these Chapter 11 Cases.
 5          65.     On average, the Debtors spend approximately $29,315 each month on utility costs,
 6   exclusive of water delivered by the City for service to the Industries pursuant to the Interim
 7   Agreement (“Delivered Water”), which the Debtors expect to be paid by the Industries. Based on
 8   the Industries’ past water use, the Debtors anticipate that the monthly cost of Delivered Water will
 9   vary between approximately $211,000 and $342,000 per month, averaging approximately
10   $268,000. BWC will invoice the Industries for the cost of Delivered Water based on their respective
11   actual use.
12          66.     As of the Petition Date, the Debtors believe they are current on utility payments that
13   came due on or before the Petition Date. The Debtors anticipate that they will be able to satisfy all
14   administrative expenses on a current and ongoing basis, including Utilities, from unencumbered
15   cash held by BWC on the Petition Date, SPE’s use of cash collateral, and cash flow from ongoing
16   business operations.
17          67.     Notwithstanding the Debtors’ ability to pay their post-petition obligations, the
18   Debtors recognize that certain Utilities may not be satisfied without further assurances. The Debtors
19   seek to mitigate the Utilities’ risk of non-payment, while maintaining adequate capital to operate
20   their business during these Chapter 11 Cases, by establishing the Procedures described in the
21   Utilities Motion. Separate negotiations with each of the Utilities would be time-consuming and
22   unnecessarily divert the Debtors from other critical tasks related to the operation of their business
23   and restructuring. If the Debtors fail to reach an early agreement with each Utility, they would have
24   to file motions seeking expedited determinations as to adequate assurance or risk service
25   termination.
26          68.     The proposed Procedures therefore preserve the status quo and ensure continued
27   utility services, while providing a prompt forum for the resolution of any dispute as to adequate
28   assurance.

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 1   C.      Bank Accounts Motion.
 2          69.     The Debtors filed the Bank Accounts Motion seeking authorization to maintain their
 3   prepetition Bank Accounts (defined below) to avoid immediate and irreparable harm to the Debtors’
 4   estates that would ensue if the Debtors’ banking procedures were to be disrupted during the Chapter
 5   11 Cases.
 6          70.     As of the Petition Date, the Debtors hold the following bank accounts (the “Bank
 7   Accounts”) at Bank of Nevada:
 8
           Debtor         Account Type              Last 4 Digits Purpose
 9         BWC            Money Market              5354            General
10         BWC            Checking                  8280            General business operations
           SPE            Checking                  6972            General business operations
11

12          71.     The aggregate balance of BWC’s Bank Accounts as of the Petition Date was

13   approximately $5,761,523.75. The balance of the SPE Bank Account as of the Petition Date was

14   approximately $1,179,491.

15          72.     The Debtors routinely deposit, withdraw, and otherwise transfer funds to and from

16   the Bank Accounts and manage all of their cash receipts and disbursements through the Bank

17   Accounts.

18          73.     Revenue from the Industry Water Delivery Contracts is deposited into BWC’s

19   checking account and generally used to pay the costs of operating and maintaining the water system

20   and other ordinary business expenses.

21          74.     Additionally, pursuant to that certain Indenture of Trust dated February 23, 2017

22   (the “Indenture”) between SPE, as Issuer, and Bank of Nevada, as Indenture Trustee, SPE issued

23   its $20,500,000 City of Henderson Water Delivery Contract Revenue Bonds, Taxable Series 2017

24   (the “Bonds”) and the Deed of Trust, Pledge and Security Agreement, and Fixture Filing with

25   Assignment of Rents, recorded on February 24, 2017, as Instrument No. 201702240002702 (the

26   “Deed of Trust”), attached hereto as Exhibits 9 and 10, SPE granted the Indenture Trustee a

27   security interest in, among other things (each of the following as defined in the Indenture):

28   (a) SPE’s interest in the Facilities; (b) that certain Water Delivery Contract; (c) the Revenues; and

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 1   (d) all accounts or subaccounts created under the Indenture and held by the Indenture Trustee,
 2   including all cash maintained therein. The following accounts were created under the Indenture
 3   (collectively, the “Indenture Accounts”):
 4          Debtor         Account Type                Last 4 Digits Purpose
 5          SPE            Money Market                1685              Improvement Fund13
            SPE            Money Market                4955              Bond Fund
 6
            SPE            Money Market                6124              Revenue Fund
 7          SPE            Checking                    9469              Expense Fund
 8           75.     Historically, pursuant to the Indenture and that certain Collateral Assignment of
 9   Water Delivery Contract, dated as of February 23, 2017, payments due and owing by the City of
10   Henderson under the City Water Delivery Contract were deposited directly into the SPE Revenue
11   Fund. Pursuant to section 3.12 of the Indenture, funds in the Revenue Fund were applied first to
12   the Bond Fund in an amount sufficient to pay the principal and interest due on the Bonds on the
13   next payment date, then to the Expense Fund to pay the fees and expenses of the Indenture Trustee,
14   and then, to the extent there were any remaining amounts, to BWC, which operates and maintains
15   the water system pursuant to the 2004 Assignment Agreement between BWC and SPE.
16           76.     The Indenture Trustee contends that it holds the Indenture Accounts at the Bank of
17   Nevada in trust for the benefit of the holder of the Bonds under the Indenture and Deed of Trust.
18   Accordingly, the Indenture Accounts are not part of the Bank Accounts and are not subject to the
19   relief requested in this Motion. As of the Petition Date, the balance of the Bond Fund was
20   approximately $657,402 and the balance of the Revenue Fund was approximately $1,006,440.
21           77.     The Debtors also seek authorization to continue using their cash management
22   system, including transfers by SPE to BWC to pay part of the costs of operating and maintaining
23
     13
24           The Improvement Fund was created pursuant to section 3.02 of the Indenture to pay for the cost of
     authorized improvements to the Facilities (as defined in the Indenture). Prepetition, on September 9, 2022,
25   SPE effectuated a partial redemption of the Bonds pursuant to section 5.01(a) of the Indenture by directing
     the Indenture Trustee to apply the funds in the Improvement Fund to the balance of the Bonds as
26   consideration for the Indenture Trustee’s waiver of the provisions of section 9.05 of the Indenture, section
     2 of the Amended and Restated Operating Agreement of SPE, Article 9 of the Amendment to Articles of
27   Organization of SPE, and any other provisions similar thereto contained in the Indenture or SPE’s
     organizational documents as it relates to the commencement by SPE of a proceeding under the Bankruptcy
28   Code. As a result, the balance of the Improvement Fund as of the Petition Date is $0.

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 1   the Water Facilities and other ordinary business expenses. The cash management system enables
 2   the Debtors to centrally control their funds, ensure the availability of funds when necessary to
 3   maintain and operate the water system, and conduct their operations efficiently and effectively. The
 4   Debtors’ cash management system allows the Debtors to identify and account for transfers of funds
 5   and track and keep separate prepetition and postpetition payments.
 6          78.     Continued use of the Debtors’ Bank Accounts and cash management system,
 7   including transfers of funds from SPE to BWC, is essential to the Debtors’ continued operations
 8   and the administration of the Chapter 11 Cases. Requiring the Debtors to open new accounts or
 9   implement a new cash management system would complicate their collection of revenue and
10   payment of ordinary course expenses arising after the Petition Date, which would needlessly
11   increasing operating costs.
12          79.     The Debtors believe that any funds deposited into the Bank Accounts are secure, as
13   Bank of Nevada is an authorized depository in compliance with Section 345 of the Bankruptcy
14   Code and the Debtors’ deposits are federally insured by the FDIC to the same extent they would be
15   in any other authorized depository.
16                   EMPLOYMENT APPLICATIONS AND RELATED RELIEF
17   A.      Schwartz Law, PLLC Employment Application
18          80.     The Debtors seek Court approval of the employment and retention of Schwartz Law,
19   PLLC (“SL”) as their attorneys in the Chapter 11 Cases under the terms and conditions of the letter
20   agreement dated November 29, 2021.
21          81.     The Debtors selected SL as their attorneys because of the firm’s experience and
22   knowledge in the field of debtors’ and creditors’ rights and business reorganizations under Chapter
23   11 of the Bankruptcy Code. SL’s attorneys have served as counsel for the debtors or significant
24   creditors in many of the largest and most complex bankruptcy cases filed in this District during the
25   last 15 years. Moreover, SL has extensive knowledge of the Debtors’ business and financial affairs
26   as a result of its representation of the Debtors prior to the commencement of these Chapter 11
27   Cases. Accordingly, the Debtors believe SL is well qualified to provide the legal services that will
28   be required in connection with these Chapter 11 Cases.

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 1          82.     To the best of the Debtors’ knowledge, based on the Debtors’ disclosure of their
 2   equity security holders, officers, directors, affiliates, creditors, customers, and other parties in
 3   interest, the attorneys of SL: (a) do not have any present or prior connection with the Debtors, their
 4   affiliates, their creditors, any person employed in the Office of the UST, or any other party in
 5   interest, or their respective attorneys and accountants; (b) are “disinterested persons,” as that term
 6   is defined in section 101(14) of the Bankruptcy Code; and (c) do not hold or represent any interest
 7   adverse to the Estate.
 8          83.     Neither SL nor any attorney at the firm is or was a creditor, an equity holder or an
 9   insider of the Debtors.
10          84.     Neither SL nor any attorney at the firm is or was, within two (2) years before the
11   Petition Date, a director, officer, or employee of the Debtors.
12          85.     Neither SL nor any attorney at the firm has an interest materially adverse to the
13   interest of the Estates or of any class of creditors or equity security holders by reason of any direct
14   or indirect relationship to, connection with, or interest in the Debtors or for any other reason.
15          86.     Debtors understand that SL hereafter intends to apply to the Court for allowances of
16   compensation and reimbursement of expenses in accordance with the applicable provisions of the
17   Bankruptcy Code, including, but not limited to Sections 330 and 331 of the Bankruptcy Code, the
18   Bankruptcy Rules, the Local Rules, and the Guidelines for Professional Compensation established
19   by the Office of the United States Trustee, and further orders of this Court, for all services
20   performed and expenses incurred after the Petition Date. It is contemplated that SL may seek
21   interim compensation during this case as permitted by Section 331 of the Bankruptcy Code and
22   Bankruptcy Rule 2016.
23   B.      Force Ten Partners, LLC Employment Application
24          87.     The Debtors seek Court approval of the employment and retention of Force Ten
25   Partners, LLC (“Force 10”) as their financial advisors in the Chapter 11 Cases under the terms and
26   conditions of the letter agreement dated September 6, 2022.
27          88.     The Debtors selected Force 10 because they are well qualified to represent the
28   Debtors in connection with the types of services requested herein. Force10 is an advisory firm that

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 1   specializes in financial and operational corporate restructuring, valuation, forensic accounting,
 2   complex litigation support, and computations involved in court proceedings and dispute resolution.
 3   Force 10 serves individual chapter 11 debtors, middle-market companies as well as their creditors,
 4   stakeholders, and professionals in roles including financial advisor, interim manager, fiduciary
 5   services, expert witnesses, financier and M&A advisor. Since their original retention in April of
 6   2022, Force 10’s professionals have become familiar with the Debtors’ operations, assets,
 7   liabilities, expenses, and many of the potential financial and business issues that may arise in these
 8   Chapter 11 Cases. Accordingly, the Debtors believe that Force 10 has the relevant experience,
 9   expertise, and relevant knowledge regarding the Debtors’ business and financial affairs to assist in
10   assist the Debtors in their Chapter 11 Cases in an efficient and timely manner.
11          89.     To the best of the Debtors’ knowledge, based on the Debtors’ disclosure of their
12   equity security holders, officers, directors, affiliates, creditors, customers, and other parties in
13   interest, Force 10’s professionals: (a) do not have any present or prior connection with the Debtors,
14   their affiliates, their creditors, any person employed in the Office of the UST, or any other party in
15   interest, or their respective attorneys and accountants; (b) are “disinterested persons,” as that term
16   is defined in section 101(14) of the Bankruptcy Code; and (c) do not hold or represent any interest
17   adverse to the Estate.
18          90.     Neither Force 10 nor any professional at the firm is or was a creditor, an equity
19   holder or an insider of the Debtors.
20          91.     Neither Force 10 nor any professional at the firm is or was, within two (2) years
21   before the Petition Date, a director, officer, or employee of the Debtors.
22          92.     Neither Force 10 nor any professional at the firm has an interest materially adverse
23   to the interest of the Estates or of any class of creditors or equity security holders by reason of any
24   direct or indirect relationship to, connection with, or interest in the Debtors or for any other reason.
25          93.     Debtors understand that Force 10 hereafter intends to apply to the Court for
26   allowances of compensation and reimbursement of expenses in accordance with the applicable
27   provisions of the Bankruptcy Code, including, but not limited to Sections 330 and 331 of the
28   Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the Guidelines for Professional

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 1   Compensation established by the Office of the United States Trustee, and further orders of this
 2   Court, for all services performed and expenses incurred after the Petition Date. It is contemplated
 3   that Force 10 may seek interim compensation during this case as permitted by Section 331 of the
 4   Bankruptcy Code and Bankruptcy Rule 2016.
 5    C.      Interim Monthly Compensation
 6           94.     The Debtors filed their Interim Compensation Motion, seeking entry of an order
 7   authorizing and establishing procedures for interim compensation and reimbursement of expenses
 8   of professionals employed on behalf of the estate (the “Professionals”), including, but not
 9   necessarily limited to, Schwartz Law, PLLC, their reorganization counsel, and Force Ten Partners
10   LLC, their financial advisors. The proposed procedures for the monthly payment of compensation
11   and reimbursement of expenses to the Professionals (the “Compensation Procedures”) are set
12   forth in detail in the Motion.
13           95.     The Debtors also request that the Court require all persons (other than the
14   Professionals) seeking professional compensation from the estate under Section 503(b) to adhere
15   to the Compensation Procedures except as otherwise ordered by the Court.
16           96.     The Debtors anticipate these Chapter 11 Cases will generate and require a
17   substantial volume of professional work, and thereby the accrual of fees by the Debtors’
18   Professionals in amounts large enough to unduly burden the Professionals during the extended
19   period before approval of interim fee applications.
20           97.     The requested Compensation Procedures will assist the Debtors and all parties in
21   interest in monitoring the costs of administration and enable the Debtors to maintain level cash
22   flow, implement efficient cash management procedures, and prepare accurate forecasts.
23   Accordingly, the Debtors believe the requested relief is in the best interests of the Debtors, their
24   creditors, and all parties in interest.
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 1          I declare under penalty of perjury of the laws of the United States that these facts are true
 2   to the best of my knowledge and belief.
 3          Dated: September 10, 2022.
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